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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-CV-21376-KING/REID

   UNITED STATES OF AMERICA,

         Plaintiff,

   v.                                         ORAL ARGUMENT REQUESTED

   CEREBRAL, INC. et al.,

         Defendants.



   DEFENDANTS KYLE ROBERTSON; ALEX MARTELLI; GERMAN ECHEVERRY;
          ZEALTHY, INC; GRONK, INC; AND BRUNO HEALTH, P.A.’S
          JOINT MOTION TO DISMISS THE AMENDED COMPLAINT
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                                  PRELIMINARY STATEMENT

         Kyle Robertson has dedicated his career to a single goal: providing healthcare access to

  the people left behind by the modern healthcare system. That is why, in 2019, he cofounded

  Cerebral, building it from an aspiration into a lifeline for Americans seeking easy-to-access,

  stigma-free, affordable mental health care and medication management services. By the time Mr.

  Robertson left the company in May 2022, Cerebral had helped nearly a million patients grappling

  with depression, anxiety, and other issues. In 2023, Mr. Robertson started Zealthy, a new venture

  driven by the same goal of improving access to high-quality healthcare, with Dr. German

  Echeverry serving as Zealthy’s Senior Medical Director.1 Although Zealthy is still in the early

  stages of development, it already has delivered accessible, affordable care to thousands of patients.

         Apparently, no good deed goes unpunished. Mr. Robertson’s important work making

  healthcare accessible, and the national media attention he received at Cerebral, put him on the

  radar screen of the Federal Trade Commission, which seems determined to ruin Mr. Robertson

  financially and reputationally, along with his fledgling healthcare company, Zealthy; former

  Zealthy employee, Dr. Echeverry; and former Cerebral employee, Alex Martelli (who has no

  connection to Zealthy or Dr. Echeverry).

         Premised on suspect legal theories and threadbare factual allegations, the Amended

  Complaint—now being prosecuted by DOJ Civil Division on referral from the FTC—asserts

  claims under the FTC Act that, at bottom, arise from (i) Zealthy’s mere existence and (ii) the

  following four alleged incidents at Cerebral:




   1
      Zealthy, Gronk, and Bruno Health are referred to, collectively, as “Zealthy” unless otherwise
  specified. See AC ¶¶ 11–18 (allegations regarding corporate relationships among Zealthy, Gronk,
  and Bruno Health).
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         1. A technical data-sharing error at Cerebral, which was not discovered until the year after
            Mr. Robertson’s departure;

         2. Isolated data-security issues at Cerebral, some of which occurred after Mr. Robertson’s
            departure;

         3. Cancellation issues that resulted in certain customers not receiving refunds; and

         4. Alleged manipulation of online reviews in July 2020.

  Prior to initiating this litigation, the government entered into a separate settlement with Cerebral.

  Having resolved this case with Cerebral, it is unjustified by policy, unsupported by the record, and

  unreasonable by any measure for the government to now pursue the same claims against former

  Cerebral employees and an entirely different company and its current and former employees.

         In any event, the Amended Complaint falls well short of stating claims against Mr.

  Robertson, Mr. Martelli, 2 Zealthy, and Dr. Echeverry.3 The Court should dismiss each count

  against each defendant for three principal reasons.

         First, even if Cerebral’s or Zealthy’s practices amounted to a violation of Section 5, the

  government cannot impute liability to Mr. Robertson, Mr. Martelli, or Dr. Echeverry. Individual

  liability under Section 5 requires (i) knowledge and control of the alleged misconduct and,

  critically, (ii) an ongoing or imminent violation. The Amended Complaint fails to satisfy its

  pleading burden (which is subject to Rule 9(b)) as to both requirements. Mr. Robertson and Mr.

  Martelli are no longer at Cerebral, and the alleged conduct there has ended. See ECF No. 33. Nor


   2
      Mr. Martelli joins only the portions of this motion that relate to the narrow set of allegations
  against him. The includes portions of the Preliminary Statement referencing him, Section D of the
  Factual Background, and the Legal Standard, Sections A.2. and C of the Argument section, and
  the Conclusion. He takes no position with respect to the remainder of this Motion.
   3
       Dr. Echeverry joins only the portions of this motion that relate to the narrow set of allegations
  against him. This includes portions of the Preliminary Statement referencing him, Sections E and
  F of the Factual Background, Section A.4 of the Argument section, and Section B of the Argument
  section with regard to Count IX of the Amended Complaint. He takes no position with respect to
  the remainder of this Motion.

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  do the government’s conclusory allegations against Zealthy suggest any actual or imminent

  wrongdoing, especially with respect to customer reviews and data security. Mr. Martelli does not

  work at Zealthy or with Mr. Robertson in any capacity. Dr. Echeverry’s relationships at Zealthy,

  Bruno Health, and with Mr. Robertson likewise ended before the Amended Complaint was filed.

  Moreover, even while Mr. Robertson was still at Cerebral, he had no direct involvement in the

  highly technical privacy and data security processes at issue—having hired security experts and

  professionals to oversee those areas—much less knowledge of any related issues, many of which

  were not even known or did not even occur until after he left.

         Second, regardless of what the individual Defendants knew, the Amended Complaint fails

  to plead any unfair or deceptive act or practice in the first place. The data privacy and security

  claims relate to Cerebral’s (i) inadvertent sharing of “personal health information” due to a

  technical error that was not discovered until 2023, after Mr. Robertson had left Cerebral; and

  (ii) isolated security deficiencies (since remedied) that unintentionally exposed customer files to

  former employees and consultants. These unintentional and limited alleged lapses by Cerebral do

  not amount to unfair or deceptive acts or practices within the meaning of Section 5 of the FTC

  Act.   Meanwhile, the government’s claims regarding Cerebral’s alleged “manipulation” of

  customer reviews seek to dramatize ordinary business practices while failing to plead any

  substantial injury or material misrepresentation, which Section 5 requires.

         The claims as to Zealthy fare even worse. After a long investigation, the most the

  government can point to are (i) unspecified anonymous complaints about Zealthy (a normal

  occurrence for any business) that are completely unrelated to the Cerebral incidents, and

  (ii) expansive disclosures in Zealthy’s terms and conditions regarding how it may handle customer

  information. The deficiency is alarming.



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          Third, the government’s ROSCA and Opioid Act claims fail for all the reasons its Section

   5 claims fail—and more. The Opioid Act requires an underlying unfair or deceptive act or practice,

   which the Amended Complaint fails to plead. Moreover, these claims are inapplicable. The

   government fails to plead any connection between the alleged conduct and any “substance abuse

   treatment,” which the Opioid Act requires. ROSCA is inapplicable because neither Cerebral nor

   Zealthy employs a “negative option,” which is when a company treats a customer’s silence as an

   acceptance of an offer. Cerebral and Zealthy customers affirmatively agree to a subscription with

   a disclosed price. A multi-month subscription plan is not a negative option, provided the user

   agrees to it. And even if ROSCA did apply (it doesn’t), both Cerebral and Zealthy comply because

   they provide adequate disclosures and a simple cancellation mechanism.

                             RELEVANT FACTUAL BACKGROUND 4

          A.      MR. ROBERTSON AND CEREBRAL

          In 2019, Kyle Robertson cofounded Cerebral, Inc., a healthcare company dedicated to

   providing patients online healthcare treatment. AC ¶¶ 34, 40. The idea for Cerebral came from

   Mr. Robertson’s own difficulty getting help during a severe bout of depression and anxiety. The

   path to getting care was littered with roadblocks—excessively long waiting lists, inconvenient

   appointment times, battles with insurance companies, and all the other headaches that have become

   so common, yet so pernicious, in the modern American healthcare system. Mr. Robertson was

   determined to make things easier for people dealing with mental health issues, and during his three-

   year stewardship as CEO, Cerebral grew from a “small start-up with a limited number of



    4 Because a court must accept as true the allegations in a complaint, Mr. Robertson, Mr. Martelli,

   Dr. Echeverry, and Zealthy merely recite the Amended Complaint’s allegations without
   confirming or controverting their veracity. See Papasan v. Allain, 478 U.S. 265, 286 (1986)
   (“[F]or the purposes of this motion to dismiss we must take all the factual allegations in the
   complaint as true.”).

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   employees” into a national success that works with “hundreds of thousands of patients nationwide

   struggling with depression, anxiety, and other issues.” Id. ¶¶ 34, 41.

          As with many successful CEO’s, Mr. Robertson was involved in many aspects of

   Cerebral’s business. Id. ¶ 41. He oversaw a number of its core functions, had a hand in setting

   key policies and making key decisions, and was involved in managing multiple aspects of its day-

   to-day operations. Id. ¶¶ 24, 46. He was less involved in areas where he lacked expertise. For

   example, Mr. Robertson is not a medical doctor, so prescription practices were not within his

   bailiwick. Nor is Mr. Robertson a coder, software engineer, or privacy or data-security expert.

   Mr. Robertson ultimately had visibility into those functions as CEO, but his primary responsibility

   was to ensure these departments were well staffed with qualified and responsible employees—

   including teams of healthcare professionals, product managers, engineers, and marketing

   specialists—who could handle Cerebral’s day-to-day operations and make decisions outside of

   Mr. Robertson’s expertise. Id. ¶ 45. This was important throughout the company, and in particular

   with regard to Cerebral’s compliance and security functions, where Mr. Robertson employed

   security engineers and multiple levels of compliance managers, id. ¶ 50, as well as several roles at

   the director or higher level to ensure adequate oversight and authority. These included a Chief

   Integrity and Compliance Officer, a Vice President of Product and Engineering, a Chief

   Information Security Officer, a Head of Engineering, a Head of Legal, a President, and a Chief

   Operating Officer. Id. ¶¶ 8, 46, 50, 114, 135. Under Mr. Robertson’s stewardship, Cerebral

   allocated millions of dollars to the company’s security and compliance functions. Id. ¶ 109

   (budgeting $6.7 million for Safety & Quality and Security & IT).

          B.      CEREBRAL’S PRIVACY AND DATA SECURITY PRACTICES

          Because of the importance of and stigma associated with mental health treatment, Mr.

   Robertson and Cerebral sought to provide treatment that was both “secure and discreet.” Id. ¶¶ 56–
                                                    5
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   57. Recognizing that consumers needed to know that the treatment they sought would be private,

   Cerebral included notices across its platforms that treatment through Cerebral was “private, secure,

   and non-judgmental.” Id. ¶ 56.

          To that end, Cerebral adopted a thorough Privacy Policy, requiring users’ agreement prior

   to signing up for Cerebral’s services. Id. ¶ 70. The Privacy Policy explicitly stated that users’

   protected health information (“PHI”) would not be “us[ed] or disclos[ed]” “for marketing

   purposes” without their authorization. Id. ¶¶ 67–68. Cerebral defined PHI to include information

   protected by the Health Insurance Portability and Accountability Act (“HIPAA”) and “information

   about you, including demographic information, that may identify you and that relates to your past,

   present or future physical health or condition, treatment or payment for health care services.” Id.

   ¶ 67 n.1 (emphasis added). This definition was provided in at least two separate locations—

   Cerebral’s Privacy Policy and Notice of Privacy Practices—so that patients would know exactly

   which information was protected from disclosure. Id.

          The positive impact that Cerebral had on its users’ lives encouraged the company to get

   the word out and let people know there was a cheaper, easier-to-access, and more convenient

   alternative to the current system of mental healthcare. To target its marketing efforts efficiently

   and effectively, the company relied on aggregate, anonymized data collected from its existing user

   base. The Privacy Policy spelled out how the company would use such data, making clear that

   users’ personal information—but not their PHI—might be disclosed to third-party service

   providers for data analysis as well as other purposes. Id. ¶¶ 66–67.

          Beginning in 2020, Cerebral also specifically informed users through its Privacy Policy

   that it collected non-personal information and aggregate information through a tool called pixel

   tags. Id. ¶ 69. The Policy explained that these tools were designed to help Cerebral “understand



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   traffic patterns” and “enhance” users’ “online experience.” Id. In particular, Cerebral disclosed

   that it used Facebook Pixel, which permitted Cerebral to collect information regarding consumers’

   usage activity and, as Cerebral noted, may permit Facebook, based on its own information and the

   users’ actions (as well as the Pixel’s settings) to connect the usage information to a Facebook

   account. Id. ¶ 70. Cerebral used Facebook Pixel along with Google Analytics and three other

   firms’ cookies. Id. ¶ 70. While Cerebral disclosed that these online tools could share certain types

   of information with specified third parties, it did not retract or modify its assurance that users’ PHI

   would not be used for marketing purposes without authorization. Id. ¶¶ 68, 70. And in fact, as

   discussed below, Cerebral did not intentionally disclose any of its users’ PHI through these tools.

          But no system is perfect. Despite Cerebral’s good-faith efforts to protect its patients’

   sensitive data, user data became accessible to outsiders in a manner inconsistent with the Privacy

   Policy. During the summer of 2021, certain data in a shared electronic folder became accessible

   to persons unauthorized to view the data. Id. ¶ 93. A second inadvertent disclosure occurred

   between May and December 2021, when certain former employees’ and contractors’ login names

   and passwords continued to function for a period after their association with Cerebral had

   terminated, giving them access to confidential patient medical information. Id. ¶¶ 94–95. Cerebral

   remedied this issue in December 2021, but in January 2022, shortly before Mr. Robertson left the

   company, Cerebral discovered that certain former employees and contractors had accessed

   patients’ records after they had been terminated. Id. ¶¶ 96, 98.5

          Additionally, in January 2023, seven months after Mr. Robertson’s departure, Cerebral

   learned that an inadvertent technical error had caused its tracking technologies, e.g., Facevook


    5 The Amended Complaint alleges two additional incidents in July and September 2022.
                                                                                              AC
   ¶¶ 99, 100–02. Mr. Robertson, however, left Cerebral in May 2022, id. ¶ 40, and the government
   pleads no plausible connection between these incidents and Mr. Robertson

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   Pixel, to “disclose[] certain information that may be regulated as protected health information” to

   its third-party marketing partners. Declaration of Shane Anthony Grannum, Ex. A (Cerebral

   Notice of HIPAA Privacy Breach), at 1; AC ¶ 88.6

          C.      CEREBRAL’S CANCELLATION PRACTICES

          Cerebral’s website and app informed users they could “cancel anytime” after they had

   signed up for Cerebral’s services. Id. ¶¶ 124–25. Near Cerebral’s inception, this meant canceling

   through email, although users were also able to cancel through other channels. Id. ¶¶ 130, 132.

   For a brief period in 2020, Cerebral tested a cancellation button in user profiles before returning

   to email cancellation. Id. ¶¶ 131–32. Cerebral continued to update and innovate its cancellation

   process and related disclosures, including introducing a cancellation assessment to gather

   information about why users were canceling their subscriptions in October 2020, and by adding

   an explicit explanation of how to cancel in its enrollment path in May 2022. Id. ¶¶ 127–28, 133,

   136–37. Users could cancel at any time, but to ensure the cancellation was processed prior to the

   next subscription charge, Cerebral informed customers that they should submit their cancellation

   request by a certain time prior to the next charge. Id. ¶¶ 130, 132–33.

          Although Cerebral disclosed how to cancel a subscription and numerous users successfully

   did so, some users found the process cumbersome. In response to user feedback, Cerebral, under

   Mr. Robertson’s leadership, redesigned and reengineered its cancellation flow so that users once

   again could cancel their subscriptions by simply clicking a cancellation button. Id. ¶ 134. Cerebral




    6 The Amended Complaint incorporates Cerebral’s Notice of HIPAA Privacy Breach through

   reference. AC ¶ 89. Accordingly, the Court may consider this exhibit since the Government
   referred to it in the Amended Complaint; the exhibit is central to the Government’s claims; and its
   authenticity is not in question. See Baker v. City of Madison, 67 F.4th 1268, 1276 (11th Cir. 2023)
   (quoting Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002)); Luke v. Gulley, 975 F.3d 1140,
   1144 (11th Cir. 2020) (incorporating by reference document referred to in complaint).

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   implemented the new process in May 2022, nearly contemporaneously with Mr. Robertson’s

   departure from the company. Id.

          D.      CEREBRAL’S MARKETING PRACTICES

          At Cerebral, Mr. Martelli served as Group Product Manager and was responsible for certain

   Cerebral marketing efforts.7 Id. ¶ 10. Mr. Robertson and Mr. Martelli paid close attention to

   customer reviews of Cerebral’s services and worked to ensure that, when patients were dissatisfied

   with their Cerebral experience, the company addressed their concerns. To that end, when

   customers posted reviews expressing dissatisfaction with Cerebral, Mr. Robertson and Mr.

   Martelli directed user experience teams to offer discounts or refunds as part of their efforts to

   remedy those users’ concerns. Id. ¶¶ 185–86. Similarly, to help potential customers understand

   how effective Cerebral’s services could be, when customers were satisfied with their experiences

   with Cerebral, Mr. Robertson and Mr. Martelli invited those customers to complete reviews. Id.

   ¶¶ 188–89. To raise the profile of positive reviews, Cerebral directed its employees to up-vote

   them as helpful. Id. ¶ 194. Mr. Martelli also notified review websites that certain negative reviews

   were inauthentic. Id. ¶ 191.

          The Amended Complaint further alleges that, in July 2020, Mr. Robertson directed Mr.

   Martelli and potentially other unspecified individuals to post reviews praising Cerebral’s services

   as if they were patients. Id. ¶¶ 177–78.

          E.      ZEALTHY’S PRACTICES AND POLICIES

          Mr. Robertson left Cerebral in May 2022, but he remained committed to the mission of

   making healthcare accessible and affordable for everyone. His next venture was Zealthy, a



    7
       Although the government alleges that Mr. Martelli was the “Director of Product,” AC ¶ 10,
   and separately “an executive at Cerebral,” id. ¶ 255, Mr. Martelli never held either the Director of
   Product position or any executive position within the company.

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   telemedicine company that provides medication and healthcare services, with Dr. Echeverry

   serving as Zealthy’s Senior Medical Director and leading Bruno Health.8 Id. ¶¶ 14, 16, 200. Like

   Cerebral, Zealthy users must complete a detailed questionnaire and provide significant personal

   information during enrollment, id. ¶ 233, and Mr. Robertson and Dr. Echeverry recognized the

   importance to customers that their information be safe and secure, especially when receiving care

   for sensitive medical conditions. Zealthy’s Privacy Policy was thorough and detailed, and it

   explained that unless explicitly described in the Privacy Policy, Zealthy would not disclose user

   data for promotional purposes. Ex. B (Zealthy Privacy Policy), at 3–5.9 The Policy informed users

   that in order to make Zealthy’s services as effective as possible, it would use third-party tracking

   tools and advertisement companies. AC ¶ 232. The Amended Complaint does not allege any

   violation of this representation.

          The services Zealthy provides can be costly when accessed through traditional medical

   providers. When customers enroll for Zealthy’s services, Zealthy provides estimates for the costs

   of various medications to help users understand how a Zealthy subscription can benefit them. Id.

   ¶ 222. But Zealthy’s estimates are just that—estimates. Despite Zealthy’s best efforts, they may

   not always precisely predict the final cost to the customer, especially because Zealthy does not

   control whether certain medications are covered by certain insurers and because medication is not




    8   Bruno Health helps provide telehealth services to Zealthy subscribers. AC ¶ 18.
    9
        The Amended Complaint incorporates Zealthy’s Privacy Policy by reference. AC ¶ 230
   (discussing the “Privacy Policy”); see also supra note 6 (applying the incorporation-by-reference
   doctrine).

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   included in the cost of Zealthy’s subscription. Id. ¶¶ 222, 225. Zealthy discloses this to consumers

   at sign-up. Ex C (Zealthy Sign-up Excerpt 1), at 1; Ex. D (Zealthy Terms of Use), at 1.10

          Zealthy’s enrollment process is thorough. When registering for Zealthy’s services, users

   must complete a detailed online questionnaire to ensure they receive the best possible medical

   care. Id. ¶ 233. Zealthy also allows its users to cancel at anytime and for any reason.

          F.      CAUSES OF ACTION

          On April 12, 2024, acting pursuant to a referral from the FTC, the Consumer Protection

   Branch of DOJ’s Civil Division filed a six-count Complaint. ECF No. 1. On May 31, 2024, the

   government filed the Amended Complaint with nine counts, as summarized below:

         Count              Statute               Focus of Claim                  Defendants
                     FTC Act Section
                                             Cerebral’s privacy
           I         5—deceptive acts or
                                             practices
                     practices
                     FTC Act Section
                                             Cerebral’s data security
           II        5—deceptive acts or
                                             practices
                     practices                                             Cerebral and Mr.
                     FTC Act Section                                       Robertson
                                             Cerebral’s privacy and
          III        5—unfair acts or
                                             data security practices
                     practices
                     FTC Act Section
                                             Cerebral’s cancellation
          IV         5—deceptive acts or
                                             practices
                     practices
                     FTC Act Section
                     5—unfair and            Cerebral’s customer           Mr. Robertson and Mr.
          V
                     deceptive acts or       reviews practices             Martelli
                     practices
                                             Cerebral’s privacy, data
                                             security, cancellation, and   Cerebral, Mr. Robertson,
          VI         Opioid Act
                                             customer reviews              and Mr. Martelli
                                             practices




    10
         Zealthy’s Enrollment Flow and Terms of Use are incorporated by reference. AC ¶ 222
   (discussing the Zealthy sign-up process); see also supra note 6 (applying the incorporation-by-
   reference doctrine).

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        Count                Statute                Focus of Claim                  Defendants
                                              Cerebral’s privacy, data
                                                                             Cerebral and Mr.
          VII         ROSCA                   security, and cancellation
                                                                             Robertson
                                              practices
                      FTC Act Section
                                              Zealthy’s costs of
                      5—unfair and
         VIII                                 services, subscription         Zealthy, Mr. Robertson,
                      deceptive acts or
                                              terms, and privacy and         and Dr. Echeverry
                      practices
                                              cancellation practices
          IX          ROSCA

                                          LEGAL STANDARD

          To survive a motion to dismiss, a complaint must contain sufficient factual matter to “state

   a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

   “A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

   draw the reasonable inference that the defendant is liable for the misconduct charged.” Ashcroft

   v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556). “Factual allegations that

   are ‘merely consistent with a defendant’s liability’ fall sort of being facially plausible.” Chaparro

   v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012) (quoting Iqbal, 556 U.S. at 678).

          Because the claims against Mr. Robertson, Dr. Echeverry, and Mr. Martelli (the “Individual

   Defendants”) “sound in fraud,” the Amended Complaint must also meet Federal Rule of Civil

   Procedure 9(b)’s heightened “particularity” pleading requirements. F.T.C. v. Am. Precious Metals,

   LLC, 2012 WL 13114034, at *4–5 (S.D. Fla. Apr. 12, 2012) (applying Rule 9(b) to claims brought

   under Section 5 of the FTC Act); see also Perret v. Wyndham Vacation Resorts, Inc., 846 F. Supp.

   2d 1327, 1333 (S.D. Fla. 2012) (“[Rule 9(b)] does not state that it only applies to claims for fraud;

   it says it applies to allegations of fraud.”). To satisfy Rule 9(b)’s heightened requirements, “[t]he

   plaintiff’s complaint must allege the details of the defendants[’] allegedly fraudulent acts, when

   they occurred, and who engaged in them.” Cooper v. Blue Cross & Blue Shield of Fla., Inc., 19




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   F.3d 562, 568 (11th Cir. 1994) (citing Durham v. Bus. Mgmt. Assocs., 847 F.2d 1505 (11th Cir.

   1988)).

                                              ARGUMENT

             A.     THE FTC ACT SECTION 5 CLAIMS AGAINST A LL D EFENDANTS SHOULD BE
                    DISMISSED .

             The Amended Complaint asserts five unfair or deceptive act or practice claims under

   Section 5 over alleged issues with (i) Cerebral’s data handling (Counts I–III against Mr.

   Robertson); (ii) Cerebral’s consumer’s review process (Count V against Mr. Robertson and Mr.

   Martelli); (iii) Zealthy’s general sales and marketing (Count VIII against Mr. Robertson, Dr.

   Echeverry and Zealthy); and (iv) Cerebral’s cancellation practices (Count IV against Mr.

   Robertson).

             Under Section 13(b) of the FTC Act, claims for injunctive relief under Section 5 may be

   asserted only against a defendant who “is violating” or “is about to violate” the FTC Act. AMG

   Cap. Mgmt. v. F.T.C., 593 U.S. 67, 76 (2021). Claims “based on long-past conduct” are not

   permitted “without some evidence that the defendant ‘is’ committing or ‘is about to’ commit

   another violation.” F.T.C. v. Shire ViroPharma, Inc., 917 F.3d 147, 156 (3d Cir. 2019). Notably,

   alleging a “reasonable likelihood that past violations will recur” is not enough. Id. at 156–57

   (rejecting FTC’s argument that “reasonable likelihood” of future violation is sufficient).

             For its deceptive act claims, the government must allege that the Defendants are making or

   are about to make “a representation[] ... likely to mislead customers acting reasonably under the

   circumstances ... [that is] material.” F.T.C. v. Tashman, 318 F.3d 1273, 1277 (11th Cir. 2003).

   For its unfair practice claims, the government must allege that the Defendants are committing or

   are about to commit an injury on customers that “must be substantial; [] not be outweighed by any

   countervailing benefits to consumers or competition that the practice produces; and ... that


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   consumers themselves could not reasonably have avoided.” LabMD, Inc. v. F.T.C., 894 F.3d 1221,

   1229 (11th Cir. 2018).

          Additionally, for its Section 5 claims against the Individual Defendants to survive, the

   government must allege that they “knew of the deceptive practices and either participated directly

   in those practices or had the authority to control them.” F.T.C. v. Primary Grp., Inc., 713 F. App’x.

   805, 807 (11th Cir. 2017).

          Monetary relief under the FTC Act, as relevant here, is available only for violations of

   cease and desist orders or enumerated rules, such as the Opioid Act or ROSCA. AMG Cap. Mgmt.,

   593 U.S. at 67; see also 15 U.S.C. §§ 45(m), 57b(a)(2). The FTC has not issued an applicable

   cease-and-desist order; accordingly, monetary penalties may only be imposed for violations of the

   Opioid Act or ROSCA—not Section 5(a). See AC ¶¶ 282, 287 & p. 68.

          As discussed below, each of the Amended Complaint’s Section 5 claims fail for multiple

   reasons:

          1. The Cerebral-related data claims against Mr. Robertson (Counts I-III) fail to allege
             ongoing or imminent violations, that Mr. Robertson had the required mental state, or
             even an underlying deceptive act or unfair practice. See infra § A.1.

          2. The Cerebral-related review claim (Count V) against Mr. Robertson and Mr. Martelli
             fails to allege ongoing or imminent violations or an underlying deceptive act or unfair
             practice. See infra § A.2.

          3. The Cerebral-related cancellation claim against Mr. Robertson (Count IV) fails to
             allege ongoing or imminent violations or the required mental state. See infra § A.3.

          4. The claim regarding Zealthy’s general sales and marketing against Mr. Robertson, Dr.
             Echeverry, and Zealthy (Count VIII) fails to allege Mr. Robertson’s or Dr. Echeverry’s
             knowledge or an underlying deceptive act or unfair practice. See infra § A.4.




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                   1.     The Cerebral-Related Data Claims Against Mr. Robertson (Counts I-
                          III) Fail.

                          (a)     There Is No Basis For Injunctive Relief Against Mr. Robertson
                                  Over Years-Old Cerebral Conduct.

           The government cannot allege that Mr. Robertson is committing or is about to commit the

   alleged data security and privacy incidents that occurred at Cerebral. Mr. Robertson is no longer

   with Cerebral, which appears to have resolved these issues in a settlement with the government.

   See ECF No. 33. Where, as here, “[e]very factual allegation that the FTC presents refers to past

   misconduct,” claims for injunctive relief under Section 5 do not lie. See F.T.C. v. AdvoCare Int’l,

   L.P., 2020 WL 6741968, at *5 (E.D. Tex. Nov. 16, 2020) (dismissing Section 5 claims because

   “[t]he FTC has not alleged that the McDaniels are currently violating or are about to violate the

   law enforced by the FTC.”). Even if the Court finds that there were “large scale” violations at

   Cerebral, that would not justify injunctive relief against Mr. Robertson absent a showing of a

   “likelihood of future violations.” See First Am. Order, ECF No. 538 at 24–26, F.T.C. v. Hornbeam,

   No. 17-3094 (N.D. Ga. May 1, 2024) (denying injunctive relief).11 And there is no claim for

   injunctive relief where, as here, the Amended Complaint contains no plausible allegation—let

   alone proof—that Mr. Robertson currently is engaging (or is likely to do so) in any of the conduct

   alleged against Cerebral.

           The Amended Complaint’s tacked-on allegations regarding Zealthy fail to remedy this

   deficiency. As discussed below in Section A.4, nothing in the Amended Complaint suggests “that

   [Zealthy] is currently engaging in unfair or deceptive practices similar to [Cerebral],” much less

   that Mr. Robertson is involved, as Section 5 requires. Ex. L (Hornbeam Order), at 26. The

   government does not even mention Zealthy’s data security, and its allegations regarding Zealthy’s



    11
         A copy of this order is enclosed for the Court’s convenience as Exhibit L.

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   privacy practices boil down to (1) the company maintains a privacy policy and (2) that policy sets

   forth potential data usage practices. AC ¶ 230; Ex. B (Zealthy Privacy Policy), at 2–5.12 On Mr.

   Robertson, the most the Amended Complaint alleges is that he was the CEO of Cerebral and is

   now the CEO of Zealthy. The notion that he or Zealthy will commit unfair or deceptive practices

   with respect to data security or privacy thus relies on a speculative and improper propensity

   inference, but “such speculation without any indication that the [Zealthy] is actually deceiving

   customers in a similar fashion as [Cerebral] did, or deceiving customers at all” cannot support

   liability. Ex. L (Hornbeam Order), at 26.

           Mr. Robertson has no control over Cerebral or its privacy and data protection practices.

   Nor is there any plausible suggestion in the Amended Complaint that he is engaging in unfair or

   deceptive practices with Zealthy’s privacy and data protection practices. There is no basis for an

   injunction.   The Court can, and should, dismiss Counts I–III on that basis alone.           Shire

   ViroPharma, Inc., 917 F,3d at 26 (affirming dismissal of FTC complaint for failure to plead basis

   for injunctive relief).

                             (b)   The Amended Complaint Fails to Allege Mr. Robertson’s
                                   Knowledge Of Cerebral’s Incidents.

           Nor does the Amended Complaint allege Mr. Robertson’s knowledge of the specific

   privacy and data security issues that allegedly occurred at Cerebral. These technical issues derive

   from coding-level glitches that resulted in inadvertent disclosure or the possibility of improper

   access to user data. The government lacks any basis to allege that Mr. Robertson was involved in

   or even knew about these details. Mr. Robertson was the CEO of Cerebral—not a privacy




    12
         The Amended Complaint incorporates Zealthy’s Privacy Policy by reference. AC ¶ 230
   (discussing the “Privacy Policy”); see also supra note 6 (applying the incorporation-by-reference
   doctrine).

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   engineer. AC ¶ 34. He had no expertise to click through the code, design the privacy architecture,

   or evaluate security tickets as incidents arose. He approved budgets, oversaw departments, set

   strategic direction, empowered capable subject-matter experts, and had reporting obligations to the

   board of directors. Such CEO-level involvement is “insufficient to show” the level of knowledge

   required for Section 5 liability. See F.T.C. by James v. Quincy Bioscience Holding Co., Inc., 389

   F. Supp. 3d 211, 221 (S.D.N.Y. 2019) (allegations that executive “signed research agreements,

   pre-approved research proposals, and reviewed [d]efendants’ advertising” were “insufficient to

   show” knowledge).

          A brief review of the specific allegations compels this conclusion.           The Amended

   Complaint alleges Cerebral (1) inadvertently “released the confidential medical files of 880

   patients to persons unauthorized to receive or view those files[,]” AC ¶ 93; (2) “allowed former

   employees and contractors access to the confidential electronic medical records of patients[,]” id.

   ¶ 94; and (3) provided “former employees or contractors” access to “patients’ medication

   management records more than six days after the individuals had been terminated.” Id. ¶ 98. The

   other data security allegations, id. ¶¶ 99–100, occurred after Mr. Robertson’s departure and thus

   are irrelevant to his liability under Section 5. See F.T.C. v. Wash. Data Res., 856 F. Supp. 2d 1247,

   1277 (M.D. Fla. 2012) (concluding that once an individual was terminated from the company, he

   no longer had control over any allegedly deceptive practices). Likewise, once Mr. Robertson left

   Cerebral, he no longer controlled or had authority over Cerebral’s data security and cannot be held

   liable for any alleged breaches.

          The Amended Complaint makes no effort to plead that Mr. Robertson was involved in or

   even vaguely knew about these coding-level errors. The government even concedes that there

   were numerous operational and reporting layers separating Mr. Robertson from the technical



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   coding-related details of Cerebral’s privacy and data security implementation, including but not

   limited to engineers, compliance personnel, a Vice President of Product and Engineering, a Head

   of Engineering, a Chief Integrity and Compliance Officer, and a Chief Information Security

   Officer. AC ¶¶ 8, 45, 46, 114. Mr. Robertson’s remoteness from these details counsels in favor

   of dismissal. Cf. Anderson v. Spirit Aerosystems Holdings, Inc., 827 F.3d 1229, 1240 (10th Cir.

   2016) (dismissing claims where complaint failed to establish knowledge of CEO who was

   separated by “four levels of management hierarchy” from alleged conduct).

          The Amended Complaint’s attempt to link Mr. Robertson to these issues only highlights

   further just how far removed he was. The government alleges (i) Mr. Robertson personally

   approved a budget allocating millions of dollars to Safety & Quality and Security & IT, AC ¶ 109,

   and (ii) “[i]n some instances, [Mr. Robertson] overrode significant data security concerns raised

   by his top data security reports,” but what these concerns were, the Amended Complaint does not

   say. Id. ¶¶ 105–12, 114. Yet, notwithstanding a “longstanding” investigation that relied on full

   cooperation from Cerebral, see AC ¶ 242; ECF No. 33 at 54–55 (“Defendant Cerebral, Inc. must

   fully cooperate with representatives of Plaintiff and the Commission in this case and in any

   investigation related to or associated with the transactions or the occurrences that are the subject

   of the Complaint.”), the government does not even suggest these unspecified “significant data

   security concerns” have anything to do with the incidents it identifies as supposedly unfair and

   deceptive. Nor can it explain why Mr. Robertson’s approving more than $6 million for data

   security is insufficient or improper. Because the government alleges “virtually no facts to tie [Mr.

   Robertson] to the [isolated security issues] or to suggest his knowledge moves from the

   conceivable to the plausible,” dismissal is appropriate. F.T.C. v. Swish Mktg, 2010 WL 653486,

   at *5–6 (N.D. Cal. Feb. 22, 2010) (dismissing Section 5 claim against company president because



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   defendant’s corporate function, authority to sign documents, and large number of consumer

   complaints were insufficient to plead knowledge); see also Davis v. Skullcandy, Inc., 2018 WL

   1415192, at *5 (D. Utah Mar. 21, 2018) (dismissing claim against individual because allegations

   based on “executives’ positions in the company and their presence at meetings” were insufficient

   to establish requisite knowledge).

           The data privacy allegations fare no better. The government’s data privacy claim is

   premised on Cerebral’s purported sharing of “protected health information” or “PHI.” AC ¶¶ 67

   n.1, 71. Cerebral’s Privacy Policy defined PHI as “information about [the user], including

   demographic information, that may identify you and that relates to your past, present or future

   physical health or condition, treatment or payment for health care services.” Id. ¶ 67 n.1. As the

   Amended Complaint notes, since 2020, Cerebral assured users that their PHI “will not be used

   for any other purpose, including marketing, without [their] consent,” id. ¶ 71, but then used

   “tracking tools (including tracking ‘pixels’),” which collected and sent Cerebral’s patients PHI to

   third parties.” Id. ¶ 74.

           Critically, however, the Amended Complaint does not allege that any such conduct was

   intentional, much less that Mr. Robertson knew there was a conflict between Cerebral’s disclosures

   and its practices. The government concedes the tracking technologies were intended to collect

   “non-personal information or aggregate information,” in accordance with Cerebral’s disclosures.

   Id. ¶ 69 (quoting Cerebral’s Privacy Policy). It was an inadvertent technical error that caused the

   tracking technologies to “disclose[] certain information that may be regulated as protected health

   information.” Ex. A (Cerebral Notice of HIPAA Privacy Breach), at 1.13 Far from acting



    13  The Amended Complaint incorporates Cerebral’s Notice of HIPAA Privacy Breach by
   reference. AC ¶ 89; see also supra note 6 (applying the incorporation-by-reference doctrine).

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   intentionally, Cerebral did not even discover the error until January 3, 2023—more than seven

   months after Mr. Robertson’s departure. Id. Cerebral “promptly disabled, reconfigured, and/or

   removed the Tracking Technologies ... to prevent any such disclosures in the future and

   discontinued or disabled data sharing with any Subcontractors not able to meet all HIPAA

   requirements.” Id. at 2. The fact that Cerebral subsequently discovered that its privacy disclosures

   did not square with how the tracking pixel actually worked does not support a plausible inference

   that they knew of the disconnect from the start. See Krinsk v. SunTrust Banks, Inc., 2010 WL

   11475608, at *3 (M.D. Fla. Jan. 8, 2010) (after-the-fact discovery of falsity “cannot support a

   reasonable inference that [defendant] knew or should have known that the representations ... were

   false at the time they were made.”). To state a Section 5 claim against Mr. Robertson, the

   government must plausibly allege that Mr. Robertson was aware at the time of the disconnect

   between the privacy disclosures and the way the tracking pixel worked. Primary Grp., Inc., 713

   F. App’x at 807. The government thus resorts to obfuscation to address this gaping deficiency.

          First, the Amended Complaint misleadingly uses a self-serving definition of “PHI” that is

   different from the term used in Cerebral’s Privacy Policy. Cerebral’s Privacy Policy (which the

   government quotes and refers to in other places in the Amended Complaint) defines PHI as

   information that may “identify you and that relates to your past, present or future physical health

   or condition, treatment or payment for health care services.” AC ¶ 67 n.1. Yet the Amended

   Complaint inexplicably adopts a much broader definition of “PHI,” relying on the deceptively

   similar, sui generis phrase “personal health information,” id. ¶ 37, without acknowledging this

   massive expansion of a key term. The result of the government’s definitional legerdemain is an

   apples-to-oranges comparison in which it suggests that Cerebral breached its disclosures by

   disclosing ‘protected health information,’ when the allegations relate only to the government’s ill-



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   defined conception of ‘personal health information’ that may or may not constitute ‘protected

   health information’ under Cerebral’s disclosures. This ambiguity renders the allegations vague

   and insufficient to state a claim. Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1268 (11th Cir.

   2009) (“The vague and conclusory nature of these allegations is insufficient to state a claim for

   relief, and ‘will not do.’”).

           Second, the Amended Complaint mischaracterizes the origins of the sensitive information

   Cerebral used in its marketing. The government alleges Cerebral used “advertisement services

   [that] rel[y] on exploiting user PHI” (using the government’s vague definition) to “re-target current

   Cerebral users” and target “new, potential users who were demographically similar to existing

   Cerebral users.” AC ¶ 75. It asserts Cerebral used “data such as ... a user’s online activity” for

   this targeting. Id. ¶ 83. But even taken at face value, these allegations describe Cerebral relying

   on data collected and made available by social media platforms like Facebook and search engines

   like Google. Cerebral is a telehealth company, not a search engine—it does not track and store its

   users’ “online activity.” Id. Properly understood, this allegation does not suggest that Cerebral

   misused the PHI (using any definition) that its users entrusted to it; it alleges instead that Cerebral

   paid for access to data collected by companies like Facebook to learn which users click on links

   or topics related to Cerebral or “watched Cerebral videos.” Id. ¶ 82. This does not implicate the

   data Cerebral collected from its users at all.

           The fact that the Amended Complaint resorts to a misleading re-definition of the key term

   in Cerebral’s Privacy Policy and a fundamentally flawed description of Cerebral’s marketing

   technique reflects how weak its privacy claims are. This misdirection cannot mask the absence of

   any plausible allegation that Mr. Robertson was aware of issues with Cerebral’s privacy practices.




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   That is fatal to Counts I–III. Primary Grp., Inc., 713 F. App’x at 807 (individual liability under

   Section 5 of the FTC Act requires evidence that the individual “knew of the deceptive practices”).

                          (c)     The Amended Complaint Does Not Allege Unfair or Deceptive
                                  Conduct.

          An inadvertent disclosure of user data caused by a single, undiscovered technological error

   in a tracking pixel does not amount to an unfair practice nor deceptive act. “The fact that a

   company has suffered a security breach does not demonstrate that the company did not place

   significant emphasis on maintaining a high level of security.” In re Marriott Int’l, Inc., 31 F.4th

   898, 903 (4th Cir. 2022) (quoting In re Equifax Inc. Sec. Litig., 357 F. Supp. 3d 1189, 1221 (N.D.

   Ga. 2019)); see also F.T.C. v. Am. Tax Relief LLC, 2012 WL 8281722, at *5 (C.D. Cal. Aug. 8,

   2012) (“unauthorized billings” that were “[i]solated occurrences” would not support Section 5

   claim). So too, here. As the Amended Complaint concedes, during Mr. Robertson’s tenure, he

   approved millions of dollars in spending to ensure Cerebral adequately safeguarded user data. AC

   ¶ 109. And the fact that—after years of investigating—the government could identify only one

   data privacy incident suggests that, contrary to the Amended Complaint’s assertion, Cerebral

   actually did a pretty good job while Mr. Robertson was in charge.

          The data security allegations are equally unimpressive. At most, the Amended Complaint’s

   allegations describe potential vulnerabilities that were remedied years ago. Id. ¶¶ 93–94, 98, 104.

   The Amended Complaint fails to “allege more than a mere possibility of consumer injury,” much

   less that these years-old vulnerabilities were likely to result in consumer injury, as required for an

   unfair practice claim. F.T.C. v. Kochava Inc., 671 F. Supp. 3d 1161, 1172 (D. Idaho 2023); see

   also F.T.C. v. D-Link Sys., Inc., 2017 WL 4150873, at *5 (N.D. Cal. Sept. 19, 2017) (“mere

   possibility of injury” is insufficient to maintain Section 5 claim). The Amended Complaint

   concedes that Cerebral “devoted resources and took steps to strengthen the security of [its]


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   systems,” Marriott Int’l, Inc., 31 F.4th at 903, including through executive briefings, formal

   investigations, and Mr. Robertson’s own approval of more than $6 million dollars to security-

   related departments. AC ¶¶ 105–07. The Amended Complaint merely alleges isolated breaches,

   neither of which make Cerebral’s security representations “false or misleading.” Marriott Int’l,

   Inc., 31 F.4th at 903 (concluding that an eventual data breach did not render privacy statements

   “false or misleading” where the company sought to protect personal data within its control); see

   also In re Heartland Payment Sys., Inc. Sec. Litig., 2009 WL 4798148, at *5–6 (D.N.J. Dec. 7,

   2009) (same).

                   2.    The Cerebral-Related Customer Review Claim Against Mr.
                         Robertson and Mr. Martelli (Count V) Fails.

          The Amended Complaint misguidedly asserts a deceptive act or practice claim against Mr.

   Robertson and Mr. Martelli based on their purported involvement in Cerebral’s “prevent[ion] [of]

   customers from seeing a true and accurate depiction of [] reviews, opinions, and experiences of

   Cerebral’s patients” on third-party review websites. AC ¶ 188. Specifically, the Amended

   Complaint alleges that Cerebral (i) “provid[ed] incentives to reviewers that were not adequately

   disclosed”; (ii) “suppress[ed] negative reviews”; and (iii) posted “fabricated online reviews.” Id.

   ¶ 176. This claim fails because the government does not adequately plead that Mr. Robertson or

   Mr. Martelli are committing or about to commit these Cerebral-related violations, nor that such

   conduct constitutes a deceptive act or practice within the meaning of Section 5.

                         (a)     The Amended Complaint Fails to Plead an Ongoing or Future
                                 Violation.

          As a threshold matter, the Amended Complaint identified conduct that allegedly occurred

   more than four years ago, “[i]n or about July 2020[,]” id. ¶ 177, and makes no effort beyond

   conclusory assertions to suggest that either Mr. Robertson or Mr. Martelli is involved, or is about



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   to be involved, in similar misconduct.14 Such “long-past conduct” cannot support a claim for relief

   under Section 5 or Section 13 of the FTC Act. Shire ViroPharma, Inc., 917 F.3d at 156, 161.

                          (b)     The Amended Complaint Fails to Allege a Deceptive Act or Unfair
                                  Practice.

          The Amended Complaint’s barebones allegations regarding customer reviews fall far short

   of stating a claim for unfair or deceptive practices. The government fails to allege any key details,

   including how many reviews there were, when or where they were posted, how or why they were

   false, if they were ever published by any third-party sites, or if consumers were even exposed to

   them. That does not suffice to plead a claim for relief under Section 5. For example, in F.T.C. v.

   LendingClub Corp., 2018 WL 11436309, at *13 (N.D. Cal. Oct. 3, 2018), the court dismissed a

   Section 5 claim where the FTC merely alleged unspecified “numerous instances” of “unauthorized

   charges” but did not state “how many or provide even a rough approximation” of the number of

   people allegedly injured. See also BHRS Grp., LLC v. Brio Water Tech., Inc., 553 F. Supp. 3d

   793, 799 (C.D. Cal. 2021) (dismissing unfair practices claim over “false,” “fraudulent,” and

   “misleading” reviews for failure to allege sufficient facts); Marksman Sec. Corp. v. P.G. Sec., Inc.,

   2020 WL 12188373, at *8 (S.D. Fla. June 25, 2020) (dismissing claim over “false reviews” due to

   plaintiff’s failure to “provide the content of the reviews, the precise statements that [p]laintiff

   alleges to be misleading or when the statements were made”).

          Absent any key details regarding these reviews, the government fails to plead that the

   reviews (1) were “material” representations that were “likely to mislead customers acting

   reasonably under the circumstances,” as required to state a deceptive act claim, Tashman, 318 F.3d




    14
        Indeed, with regard to Mr. Martelli, the Amended Complaint relies on his “continued presence
   in the telehealth field” as the basis for the assertion that he is engaged in ongoing similar conduct.
   AC ¶ 255.

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   at 1277; nor (2) that they caused a “substantial” injury to consumers that “consumers themselves

   could not reasonably have avoided,” as required for an unfair practice claim, LabMD, Inc., 894

   F.3d at 1229 (citation omitted).

          Courts have also dismissed complaints with similar allegations outside the context of

   Section 5, where plaintiffs alleged “manipulation” of customer reviews with little more than mere

   speculation. See, e.g., Casper Sleep, Inc. v. Nectar Brand LLC, 2020 WL 5659581, at *11

   (S.D.N.Y. Sept. 23, 2020) (“Because Defendants’ allegations that ... reviews were ‘manipulated’

   are mere ‘naked assertion[s]’ devoid of further factual enhancement, ... [they] cannot survive a

   motion to dismiss.”); Verbena Prods. LLC v. Pierre Fabre Dermo-Cosmetique USA, Inc., 2020

   WL 2988587, at *4 (S.D. Fla. Feb. 28, 2020) (dismissing FDUTPA claim over purported “false

   reviews” for failure to allege “disseminat[ion] to potential customers.”).

          These are not mere pleading deficiencies. The notion that ‘incentivized’ and ‘suppressed’

   reviews amount to Section 5 violations is a gross overreach. The Amended Complaint alleges that

   Cerebral offered unhappy customers “refunds, discounts, and financial incentives,” and that, in

   many cases, these customers “revised their reviews” afterwards. AC ¶¶ 185–86. The government

   thus would have this Court conclude that redressing customer complaints is an unfair or deceptive

   practice. That is absurd. See F.T.C. v. DIRECTV, Inc., 2018 WL 3911196, at *18 (N.D. Cal. Aug.

   16, 2018) (finding that defendant’s efforts to provide customers with instant rebates cut against

   FTC’s claim that Defendant’s advertisements were misleading). And regarding the so-called

   “suppression” of customer reviews, the government alleges that Cerebral: (i) invited “satisfied

   patients” (but not dissatisfied ones) to leave reviews; (ii) “notif[ied] online websites” of potential

   “inauthentic” reviews; and (iii) “upvot[ed]” positive reviews as useful. AC ¶¶ 188, 191, 193–95.

   There is nothing deceptive or unfair about favoring positive coverage over negative coverage. See



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   Davis v. Avvo, Inc., 345 F. Supp. 3d 534, 543 (S.D.N.Y. 2018) (“Moreover, spotlighting positive

   reviews is not false advertising. Not only are positive reviews opinions, but simply indicating that

   a particular consumer was satisfied with a service plainly does not constitute a false or misleading

   statement.”). Nor can there be anything improper about flagging inauthentic reviews.

          The best the government can do—after investigating these issues for more than a year—is

   to recite vague platitudes and put a sinister spin on customer service. That does not suffice.

                  3.      The Cerebral-Related Cancellation Claim Against Mr. Robertson
                          (Count IV) Fails.

                          (a)    The Amended Complaint Fails to Allege Mr. Robertson’s
                                 Involvement.

          The Amended Complaint also fails to plead any facts that plausibly suggest that Mr.

   Robertson knew that Cerebral continued to charge customers after they “asked Cerebral to cancel

   their subscriptions” and never provided a refund. AC ¶ 119. Once again, the Amended Complaint

   relies on general assertions about Mr. Robertson’s role as CEO. See id. ¶¶ 144–56. At best, those

   broad, high-level allegations suggest that Mr. Robertson at one point favored cancellation by email

   rather than a cancellation button. But a multi-step cancellation process only renders “cancel

   anytime” deceptive if consumers are charged without a refund after they indicate that they would

   like to cancel. See F.T.C. v. Nat’l Urological Grp., Inc., 645 F. Supp. 2d 1167, 1188 (N.D. Ga.

   2008) (citing Tashman, 318 F.3d at 1277) (purported deceptive act must be “likely to mislead

   customers” and “material”). The Amended Complaint, however, is conspicuously silent regarding

   what Mr. Robertson knew about whether users received refunds. After investigating this case for

   over a year, the government surely knows that Mr. Robertson had no idea that any user failed to

   receive a refund. Its failure to allege that Mr. Robertson knew that Cerebral failed to provide

   refunds is fatal to Count V. Swish Mktg, 2010 WL 653486, at *5–6 (“The Commission's



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   conclusory assertions of authority—untethered to virtually any supportive facts—do not support

   an inference of [Defendant’s] involvement.”).

                          (b)     The Amended Complaint Fails to Allege a Continuing Violation.

            The Amended Complaint further fails to allege that Mr. Robertson “is violating or is about

   to violate” Section 5 by neglecting to adhere to certain cancellation representations.       Shire

   ViroPharma, Inc., 917 F.3d at 161 (cleaned up). The only alleged connection between Cerebral’s

   cancellation practices and Mr. Robertson’s current conduct is the bare allegation that Zealthy’s

   customers have “complained” that they “continued to be charged while their requests to cancel

   subscriptions were ignored” and “had to cancel their credit cards … after their cancellation

   requests were ignored….” AC ¶¶ 239–40. But mere allegations of “on-line complaints [cannot]

   support a plausibility finding.” Donnenfeld v. Petro Home Servs., 2017 WL 1250992, at *5 (D.N.J.

   Mar. 24, 2017) (granting defendants’ motion dismiss and finding plaintiff had failed to state a

   claim under Rule 12(b)(6)). Because “every large company can expect to have some consumer

   complaints ... courts typically reject the argument that customer complaints alleging circumstances

   that are contrary to defendant’s representations independently suffice to establish the falsity of

   those representations.” In re LexinFintech Holdings Ltd. Sec. Litig., 2021 WL 5530949, at *9 (D.

   Or. Nov. 24, 2021) (cleaned up). And these allegations certainly do not satisfy Rule 9(b)’s

   requirements, as they do not specify “who” is complaining or “when” or “how” those complaints

   were made. See Omnipol, A.S. v. Multinational Def. Servs., LLC, 32 F.4th 1298, 1307 (11th Cir.

   2022).




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                  4.      The Claim Regarding Zealthy’s General Sales And Marketing
                          Against Mr. Robertson, Dr. Echeverry, And Zealthy (Count VIII)
                          Fails.

                          (a)    The Amended Complaint Has Not Alleged Any Unfair Practices or
                                 Deceptive Conduct at Zealthy.

          The Amended Complaint’s Section 5 allegations against Zealthy are even more conclusory

   than its allegations against Cerebral. The Amended Complaint alleges that Zealthy (i) made

   misleading statements regarding the costs associated with its services, AC ¶¶ 221–25; (ii) failed to

   make adequate disclosure of “important terms” relating to fees, cancellation, and membership

   renewal in its Terms of Use page, id. ¶¶ 226-29; and (iii) failed to make adequate disclosure of

   terms in its Privacy Policy regarding use of private customer information, id. ¶¶ 230–35. But the

   Amended Complaint supplies no facts to support these claims.

          Starting with cost, the Amended Complaint alleges that Zealthy misrepresented to

   customers what they “would generally pay,” touted “low costs for initial months” before charging

   more, made unauthorized credit card charges; and led them to believe “they would generally be

   able to obtain insurance coverage for certain drugs.” Id. ¶¶ 221–25. The only factual basis for

   each of these allegations is that some unidentified customers at some unidentified times

   complained to some unidentified entity about some unidentified experiences they had. Id. This

   falls far short of Rule 9(b)’s requirements. See Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202

   (11th Cir. 2001) (requiring plaintiff to allege “the time and place of each such statement and the

   person responsible for making ... same”).

          The Terms of Use and Privacy Policy allegations fare no better. The Amended Complaint

   claims Zealthy broke the law by including in its Terms of Use terms relating to potential fees and

   charges, cancellations and refunds, and annual membership renewals that are “not part of the

   enrollment flow” and that customers “are not required to view in order to sign up.” AC ¶ 227.


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   Likewise, Zealthy supposedly “hid[] key terms regarding their handling of users’ sensitive, private

   information in the fine print of a Privacy Policy that is also not part of the enrollment flow and that

   customers who have enrolled may have never seen.” Id. ¶ 230. Once again, the Amended

   Complaint leaves out the specifics required under Rule 9(b). It does not even include Zealthy’s

   enrollment flow of which these policies are supposedly “not part.” Id. ¶¶ 226, 230.

          This is odd. Below is an excerpt of Zealthy’s sign-up page that begins the enrollment flow.

   Ex. E (Zealthy Sign-up Excerpt 2), at 1.15 The Terms of Use and the Privacy Policy are right there

   (see added red boxes).




    15  Zealthy’s Enrollment Flow is incorporated by reference. AC ¶ 222 (discussing the Zealthy
   sign-up process); see also supra note 6 (applying the incorporation-by-reference doctrine).

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          Clicking on the Terms of Use, Zealthy customers would see a detailed explanation of its

   pricing model in its Terms of Use, which set out that users were responsible for knowing their own

   insurance benefits and covering the cost of any Zealthy services that their insurance does not

   reimburse. Ex. D (Zealthy Terms of Use), at 6–9. Likewise, Zealthy explains how it used

   promotional fees and customer data. Id. The Privacy Policy specifically allows Zealthy to “share

   [user] data with third-party vendors” and to “allow selected third parties to use tracking technology

   on the website.” Ex. B (Zealthy Privacy Policy), at 3–5. The Privacy Policy goes on to tell users

   that, “[u]nless described in this Privacy Policy, [Zealthy does] not share, sell, rent, or trade any of

   your information with third parties for their promotional purposes.” Id. Zealthy users—who had

   to agree to these policies to subscribe to Zealthy’s services—had ample opportunity to read and

   understand their contents.16

          Nowhere does the Amended Complaint allege an actual violation by Zealthy of any term

   in either of these policies. Rather, the Amended Complaint’s position is that the (ordinary and

   unremarkable) way these terms are presented is itself illegal. If so, then much of e-commerce is

   illegal. This Court should “hesitate before concluding that Congress meant to confer such

   authority.” West Virginia v. Env’t Prot. Agency, 597 U.S. 697, 721 (2022) (cleaned up). If the

   government does not like the terms Zealthy offers and its users agree to, its recourse is to

   promulgate a rule, subject to notice-and-comment rulemaking—not to sue Zealthy, Mr. Robertson,

   and Dr. Echeverry.

          Finally, with respect to Gronk, the Amended Complaint’s claims are even more deficient.

   Contrary to its allegation otherwise, Gronk is not doing business as Zealthy. AC ¶ 13. Gronk is a



    16 By quoting and referring to Zealthy’s terms of use and sign-up page, the Amended Complaint
   incorporated them by reference into the Amended Complaint. See supra note 10.

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   Florida entity that was erroneously created and dissolved independently of Zealthy’s creation and

   incorporation in Delaware. Exs. F (Incorporation Documents), at 1–2, 5–6 and G (Dissolution

   Documents), at 1.17

                          (b)    The Amended Complaint Has Not Alleged Mr. Robertson’s or Dr.
                                 Echeverry’s Knowledge.

          As with all the Section 5 claims asserted against Mr. Robertson and Cerebral, the Amended

   Complaint fails to allege the mental state required to support Section 5 liability against an

   individual defendant. The Amended Complaint fails to allege anything about Mr. Robertson’s or

   Dr. Echeverry’s knowledge at all with respect to the Section 5 claims. That requires dismissal of

   Count VIII. See Swish Mktg., 2010 WL 653486, at *5 (dismissing when “the complaint presents

   virtually no facts to tie [Defendants] to the [alleged] scheme or to suggest [their] knowledge moves

   from the conceivable to the plausible”).

          B.      THE ROSCA CLAIMS (COUNTS VII, IX) SHOULD BE DISMISSED .

          The Amended Complaint asserts ROSCA claims (i) against Mr. Robertson regarding

   Cerebral’s privacy, data security, and marketing practices, and (ii) against Mr. Robertson, Dr.

   Echeverry, and Zealthy regarding Zealthy’s privacy, data security, and marketing practices.

          A claim under ROSCA requires particularized pleadings of (i) a “negative option” process;

   (ii) the lack of a “simple cancellation” mechanism, “express informed consent,” or “disclosu[re]

   of all material terms of the transaction;” and (iii) a basis for individual liability. See F.T.C. v.

   Match Grp., Inc., 2022 WL 877107, at *9, 36 (N.D. Tex. Mar. 24, 2022) (citing 15 U.S.C. § 8403);



    17 The Court may take judicial notice of public dissolution and incorporation documents filed

   with secretaries of state on a motion to dismiss. See Auto-Owners Ins. Co. v. G&D Constr. Grp.,
   Inc., 588 F. Supp. 3d 1328, 1331 n.3 (N.D. Ga. 2022) (“Courts can take judicial notice of public
   records maintained by a secretary of state.”).



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   F.T.C. v. Credit Bureau Ctr., LLC, 937 F.3d 764, 770 (7th Cir. 2019) (requiring a finding of

   personal liability under ROSCA); see also 15 U.S.C. § 45(m)(1)(A) (requiring “actual knowledge”

   to impose civil penalties). The Amended Complaint’s ROSCA claims fail because they do not

   allege (1) that Mr. Robertson or Dr. Echeverry had the knowledge required for individual liability;

   (2) facts showing the use of a negative option; or (3) inadequate disclosures or cancellation

   mechanisms.

                  1.      The Amended Complaint does not Adequately Plead Knowledge by
                          Mr. Robertson or Dr. Echeverry.

          Because the government cannot allege Mr. Robertson’s or Dr. Echeverry’s “knowledge”

   of the wrongful conduct necessary for injunctive relief or restitution, see supra § A.4.b, it

   necessarily fails to allege that either of them had “actual knowledge” that the alleged acts were

   “unfair or deceptive and [were] prohibited by” ROSCA, as required for monetary penalties.

   15 U.S.C. § 45(m)(1)(A) (emphasis added). The best the Amended Complaint can do to allege

   individual knowledge is to say that a news article about Cerebral once mentioned ROSCA and that

   Mr. Robertson (though apparently not Dr. Echeverry) “reviewed and discussed the article.” AC

   ¶ 52. Remarkably, however, that stray reference to ROSCA occurred in the context of a quotation

   from a law professor in which she said, “There’s nothing intrinsically wrong with charging people

   a recurring subscription fee even if they don’t access the services” and, in any event, that Cerebral

   was in compliance with ROSCA. Ex. H (Forbes Article), at 5. The government thus appears to

   be suggesting that Kyle Robertson knew Cerebral was violating ROSCA—as required to state a

   claim—based on an article that says Cerebral was complying with the statute. This is absurd.

          The government’s further attempt to impute this knowledge to Zealthy and Dr. Echeverry

   is even more tenuous. The Amended Complaint alleges that knowledge can be imputed first from

   Mr. Robertson to Bruno Health, and then from Bruno Health to Dr. Echeverry. AC ¶¶ 244–45.


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   Even if Mr. Robertson had the requisite knowledge, the second half of this attempted imputation

   chain is legally invalid. Under the imputed knowledge rule, “the acts and knowledge of an agent

   are imputed to the principal.” Tew v. Chase Manhattan Bank, N.A., 728 F. Supp. 1551, 1559 (S.D.

   Fla. 1990), amended on other grounds, 741 F. Supp. 220 (S.D. Fla. 1990). But this rule does not

   work the other way around. “[A] principal’s knowledge ‘is not imputed downward to an agent.’”

   United States v. Planes, 2019 WL 3024895, at *10 (M.D. Fla. July 11, 2019) (quoting Restatement

   (Third) of Agency § 5.03 cmt. g (2006)). And, under Florida law, an officer of a corporation is an

   agent of the corporation. Tew, 728 F. Supp. at 1559. Thus, Dr. Echeverry (as Health Compliance

   Officer) would have been Bruno Health’s agent, and Bruno Health’s knowledge cannot be imputed

   downward to him.

          The Amended Complaint also asserts that, based on their “close collaboration and

   Echeverry’s compliance role, Robertson’s knowledge of ROSCA issues is therefore imputed to

   Echeverry.” AC ¶ 246. But there is no legal rule that, because one person works with another

   person, they can be assumed to know what the other one knows. Such a rule would drastically

   expand the number of individuals who could be subject to financial penalties in ROSCA cases by

   essentially removing the protection offered by the statute’s knowledge requirement. And the

   Amended Complaint does not include a single allegation that ROSCA issues were ever discussed

   between Mr. Robertson and Dr. Echeverry, or that Dr. Echeverry even knew that ROSCA existed.

   Thus, there is no basis to impute knowledge of ROSCA to Dr. Echeverry.

                  2.      Neither Cerebral Nor Zealthy Offers a Negative Option Feature.

          ROSCA is inapplicable in any event. The statute only applies to “services sold ... through

   a negative option feature,” 15 U.S.C. § 8403, which is statutorily defined as “a provision under

   which the customer’s silence or failure to take an affirmative action to reject goods or services or

   to cancel the agreement is interpreted by the seller as acceptance of the offer.” 16 C.F.R.
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   § 310.2(w) (emphasis added). Essentially, a “negative option” occurs if there is no affirmative

   acceptance of an offer, such as when a company issues a seemingly free trial or product, and then

   takes the lack of affirmative rejection as an agreement to pay. See, e.g., F.T.C. v. Health Formulas,

   LLC, 2015 WL 2130504, at *2, *16 (D. Nev. May 6, 2015) (credit monitoring subscription hidden

   in free credit check offer was “negative option”); F.T.C. v. Johnson, 96 F. Supp. 3d 1110, 1139

   (D. Nev. 2015) (membership charges tacked onto free CD was “negative option”), F.T.C. v.

   Inc21.com Corp., 745 F. Supp. 2d 975, 1007 (N.D. Cal. 2010) (15-day “free” trial that converted

   to paid offer absent “affirmative steps” was “negative option”), aff’d, 475 F. App’x 106 (9th Cir.

   2012). In describing the activity it attempts to prevent, ROSCA specifically identifies third-party

   sellers using data from retailers to sign up and charge “millions of American consumers for

   membership clubs the consumers did not want” and “[t]hird party sellers used a free trial period to

   enroll members, after which they periodically charged consumers until consumers affirmatively

   canceled the memberships.” 15 U.S.C. § 8401(4), (8).

          The Amended Complaint fails to allege either Cerebral or Zealthy employed a negative

   option feature. Both offered a recurring subscription, which users accepted affirmatively at sign-

   up. See AC ¶ 124 (depicting Cerebral signup as denoting it was “billed monthly”); id. ¶ 223

   (describing how Zealthy informed customers of “costs for initial months of their services”); Ex. I

   (Cerebral Terms of Service), at 8–10; Ex. D (Zealthy Terms of Use), at 5–8.

          A recurring subscription is not the same as a negative option, and the government

   overreaches by equating the two. The former involves the kind of routine payments commonly

   seen with services like Spotify and Hulu or memberships at a fitness club or, as here, an online

   medical services company. The latter is like Columbia House Records, the former mail-order

   music service that sent records (and later cassette tapes and CDs) that members were deemed to



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   have purchased if not returned in the mail. The case law distinguishes between the two. For

   example, in F.T.C. v. Johnson, the court explained that “there is a significant distinction between

   sites that clearly offer subscription-based or membership-based services to a consumer with a trial

   period and negative option on one hand, and sites that offer to ship a product for a one-time

   payment with a bundled membership trial period and negative option on the other. In the first

   situation, the consumer is made aware of an ongoing obligation for use of the seller’s service.”

   96 F. Supp. 3d at 1141–42 (emphasis added). Here, the distinction is even sharper. The

   government does not even alleged that there was a trial period followed by a tacked-on

   membership—only that users signed up for and received a recurring subscription. Thus, there is

   no negative option.

          Indeed, the Amended Complaint includes no allegation whatsoever as to Zealthy’s

   subscription terms or flow, except for the conclusory allegation that Zealthy uses “a rapid, online

   enrollment process that uses a negative option feature.” AC ¶ 200. What is that enrollment

   process, and what about it is a negative option? The Amended Complaint does not say. The

   Amended Complaint thus does not provide a sufficient factual basis for a plausible allegation that

   Zealthy employed a negative option. ROSCA is inapplicable.

                  3.     Cerebral And Zealthy Satisfied ROSCA’s Disclosure, Consent and
                         Cancellation Requirements.

          Even if Cerebral or Zealthy did employ a negative option (they did not), they still satisfied

   ROSCA’s disclosure, consent, and cancellation requirements.

          Disclosure and Consent. ROSCA only requires “text that clearly and conspicuously

   discloses all material terms of the transaction” and “consumer’s express informed consent.”

   15 U.S.C. § 8403(1), (2). Courts routinely dismiss disclosure-related claims on the pleadings

   where defendants provided, and consumers consented to, clear explanations of the relevant terms.


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   See Mullinax v. United Mktg. Grp., LLC, 2011 WL 4085933, at *8 (N.D. Ga. Sept. 13, 2011)

   (citations omitted) (“As the webpages proffered by defendant seem clear as to the relevant terms,

   they may well be fatal to plaintiff’s claim, if proved to be authentic.”); In re Vistaprint Corp. Mktg.

   & Sales Pracs. Litig., 2009 WL 2884727, at *8 (S.D. Tex. Aug. 31, 2009) (dismissing claims

   where disclosures were “clear and in language that can be easily understood by anyone who is

   capable of placing an online order for business cards.”); Baxter v. Intelius, Inc., 2010 WL 3791487,

   at *4 (C.D. Cal. Sept. 16, 2010) (dismissing claims where “[d]efendants disclosed the full terms

   of the newly offered membership in the Offer Details section ... [and] [t]he disclosures combined

   with affirmative steps for acceptance are sufficient that, as a matter of law, the webpage is not

   deceptive.”). Here, both Cerebral and Zealthy clearly disclosed the relevant terms and required

   customers to take affirmative action to proceed.

          The Amended Complaint appears to concede that both Cerebral and Zealthy provided full

   disclosure to users, who agreed to them during the enrollment process. See AC ¶¶ 66 (Cerebral’s

   signup required agreement to “payment terms and recurring billing policy), id. ¶ 227 (Zealthy’s

   Terms of Use provided disclosure). That is fatal to any disclosure-based ROSCA claim. See

   15 U.S.C. § 8403(1) (negative option not unlawful if defendant “provides text that clearly and

   conspicuously discloses all material terms of the transaction before obtaining the consumer’s

   billing information”).

          Additionally, both companies’ enrollment processes clearly indicated that users would be

   “billed monthly,” to which users agreed. AC ¶ 124. Regarding Zealthy, the Amended Complaint

   makes conclusory allegations that the Company failed to disclose “material terms” regarding

   pricing, but the only specific allegations are about Zealthy’s advertisements regarding estimated




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   costs. Id. ¶¶ 220–23. There are no allegations that the Company failed to disclose material terms

   during the actual “transaction.” These disclosures are consistent with ROSCA. 15 U.S.C. § 8403.

          The complexity of their enrollment processes only further indicates that both companies

   complied with ROSCA. Both Cerebral and Zealthy required customers to navigate a lengthy

   enrollment process, during which they must answer a number of questions about their health status

   and demographics. AC ¶ 61 (“Cerebral has required consumers visiting its websites or apps to

   create an account, providing personal information such as their name, phone number, email

   address, birthdate, and their interest in obtaining mental health treatment. Thereafter, in many

   instances, Cerebral has required consumers to complete an online assessment to answer detailed

   questions about themselves and their mental health, and then select a treatment plan.”); id. ¶ 233

   (Zealthy users were required to fill “out a detailed online questionnaire during the enrollment

   process.”). During these processes, both Cerebral’s and Zealthy’s Terms of Use were presented

   to consumers. Id. ¶¶ 62–63, 226–227. Any consumer capable of navigating Cerebral’s or

   Zealthy’s enrollment would understand the companies’ multiple disclosures regarding their

   services and monthly pricing. See Vistaprint, 2009 WL 2884727, at *6 (finding adequate

   disclosure in a case involving business card website where the disclosures were “easily

   understandable by anyone capable of making an online purchase of business cards”).

          Beyond the enrollment process and Terms of Use, other parts of both Cerebral’s and

   Zealthy’s websites further reiterated that users would be charged a monthly fee. For example,

   Cerebral’s Frequently Asked Questions page indicates on multiple occasions that the service was

   a monthly subscription. Ex. J (Cerebral FAQ), at 1–2, 9, 12. Zealthy’s Frequently Asked

   Questions also indicates that it offers a membership with a monthly cost. Ex. K (Zealthy FAQ




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   Excerpts), at 1–3. There can be no legitimate argument that Cerebral and Zealthy did not

   adequately disclose the terms of their subscriptions.

          Nor do the alleged privacy and data security issues give rise to liability under ROSCA.

   Even if the Amended Complaint contained adequate pleadings regarding privacy and data security

   issues (it does not), no court has recognized that such issues are ‘material terms of the transaction’

   within the meaning of ROSCA. ROSCA’s material terms must be about the ‘transaction’ itself—

   that is, billing structure and costs, not each particular aspect of the product, service, or business,

   like security or data handling. See F.T.C. v. Amazon.com, Inc., 2024 WL 2723812, at *9 (W.D.

   Wash. May 28, 2024) (noting the FTC only raised three purportedly inadequately disclosed

   material terms “(1) that the free trial automatically converted into a paid subscription; (2) the

   monthly cost [] after the free trial ended; and (3) that consumers were enrolling [] at all.”).

          At its core, ROSCA is intended to prevent undisclosed charges for additional unwanted

   products. See 15 U.S.C. § 8401 (declaring policy of preventing hidden “membership clubs” and

   “free trial periods” that automatically enroll members). This is why courts focus on whether

   customers are aware (i) of the product or membership they are purchasing, and (ii) that they will

   be charged on a recurring basis absent cancellation. See e.g., Credit Bureau Ctr., LLC, 937 F.3d

   at 770 (failing to disclose credit-monitoring “service [defendant] provided in exchange for the

   subscription”); United States v. MyLife.com, Inc., 567 F. Supp. 3d 1152, 1165 (C.D. Cal. 2021)

   (failing to disclose that customer would be auto-renewed after free trial). Under the government’s

   construction, every online subscription service would be liable under ROSCA for every

   inadvertent technical glitch, disruption of service, or other deviation from its terms of service and

   applicable disclosures. ROSCA is not an all-purpose enforcement tool for the FTC to police online

   merchants and service providers.



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          Cancellation. There can be no legitimate argument the companies failed to employ a

   “simple mechanism” for cancellation, as required by ROSCA—it was far easier to cancel than it

   was to sign up.      Per the FTC’s policy statement, websites should provide “cancellation

   mechanisms at least as easy to use as the method the consumer used to initiate the negative option

   feature.” F.T.C. Enforcement Policy Statement Regarding Negative Option Marketing, 86 Fed.

   Reg. 60822, 60826 (Nov. 4, 2021) (emphasis added). To sign up, a Cerebral customer had to

   undergo a complex, multi-step evaluation before even arriving at the subscription page. AC ¶ 61.

   To cancel, users only needed to send an email and complete a brief cancellation assessment to help

   Cerebral understand why they were canceling. Id. ¶¶ 132–37. Cerebral’s sign-up process is far

   more time-consuming and complex than what the Amended Complaint alleges Cerebral required

   for cancellation. Id. ¶ 63. Further, much of the complained-of conduct regarding Cerebral’s

   cancellation predates the FTC’s November 2021 guidance, which should preclude enforcement of

   an unconstitutionally vague phrase like ‘simple mechanism for cancelation.’ After all, an agency

   must provide “fair notice” of its standards “prior to the [conduct] in question.” F.C.C. v. Fox

   Television Stations, Inc., 567 U.S. 239, 258 (2012) (emphasis added).

          Meanwhile, the Amended Complaint makes no effort to describe Zealthy’s cancellation

   processes, let alone plausibly allege they are inadequate and more onerous than the sign up process.

   Instead the Amended Complaint relies on vague references to unspecified anonymous consumer

   complaints, AC ¶¶ 237–40—which is insufficient, see supra § A.4.a—and a conclusory assertion

   that, compared to its signup process (which is itself not described), Zealthy’s cancellation flow

   was not “similarly easy.” AC ¶ 238. The government’s failure to address these cancellation flows

   is fatal to its ROSCA claim against Zealthy, Mr. Robertson, and Dr. Echeverry. See Match Grp.,




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   Inc., 2022 WL 877107, at *4 (failure “to allege [defendant’s] other five cancellation methods are

   also not simple” required dismissal of ROSCA claim.”).

          C.      THE OPIOID ACT C LAIM (COUNT VI) REGARDING C EREBRAL SHOULD BE
                  DISMISSED .

          The Amended Complaint asserts an Opioid Act claim against Mr. Robertson and Mr.

   Martelli regarding the Cerebral allegations. The Opioid Act provides for special remedies beyond

   Section 5 of the FTC Act for any “unfair or deceptive act or practice with respect to any substance

   use disorder treatment service.” 15 U.S.C. § 45d(a). Because the Amended Complaint does not

   plead a separate deceptive act or unfair practice with respect to its Opioid Act claim, this claim

   fails for the same reasons that the Section 5 claims fail. See supra § A. The claim further fails

   because it does not allege (i) Mr. Robertson or Mr. Martelli had the requisite knowledge or (ii) a

   connection between the allegations and the Opioid Act.

                  1.     The Amended Complaint Fails to Plead Knowledge.

          As with ROSCA, the government faces a high bar to plead knowledge sufficient to

   establish individual liability under the Opioid Act. See supra § B.1. The government cannot carry

   this burden given that it fails to allege Mr. Robertson’s or Mr. Martelli’s knowledge sufficient to

   create individual liability, as described above. See supra § A.18 Even if it had, the government

   makes no effort to allege that Mr. Robertson or Mr. Martelli even knew the Opioid Act existed,

   much less that they had “actual knowledge” the “unfair or deceptive and [were] prohibited by”

   the Opioid Act, as required for monetary penalties. 15 U.S.C. § 45(m)(1)(A) (emphasis added).




    18   As the Amended Complaint fails to allege any knowledge of the Opioid Act or its violation,
   civil penalties are likewise unavailable.

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                  2.      The Amended Complaint Fails to Implicate the Opioid Act.

          Even if the government had pleaded a deceptive act or unfair practice (it has not), it does

   not allege any deceptive or unfair practice relating to substance use disorder treatments. The

   government has not alleged that a single substance-abuse customer was exposed to or affected by

   any of the alleged misconduct. The only reference to substance abuse treatments at all is to note

   that the alleged review manipulation occurred “throughout the time that Cerebral offered abuse

   treatment and services to thousands of patients,” AC ¶¶ 183, 198, but the government does not

   provide any detail about how this alleged conduct supposedly had anything to do with substance

   abuse treatment, much less that individuals seeking substance abuse treatment saw the reviews.

   The Amended Complaint’s “laundry list of alleged bad acts” incorporated by reference to its

   Opioid Act count is not sufficient to state a claim. In re Checking Acct. Overdraft Litig., 694 F.

   Supp. 2d 1302, 1327 (S.D. Fla. 2010).

                                           CONCLUSION

          For the foregoing reasons and authorities, the Amended Complaint should be dismissed in

   full with prejudice.




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                              Local Rule 7.1(b)(2) Request for Hearing

          The undersigned respectfully requests a thirty-minute hearing to be held on this Motion to

   Dismiss because a hearing would assist the parties in arguing their points and applicable case law.

          Respectfully submitted,

   DATED: August 6, 2024

    QUINN EMANUEL URQUHART                              COFFEY BURLINGTON
    & SULLIVAN, LLP
                                                        By: /s/ Fernando L. Tamayo
    By: /s/ Shane Anthony Grannum
                                                        Fernando L. Tamayo (FBN: 28530)
    Shane Anthony Grannum (FBN: 1055050)                Amanda Marie Comas (FBN: 1031015)
    2601 South Bayshore Drive, Suite 1550               2601 South Bayshore Drive, PH One
    Miami, FL 33133                                     Miami, FL 33133
    Telephone: (305) 301-1423                           Telephone: (305) 858-2900
    shanegrannum@quinnemanuel.com                       ftamayo@coffeyburlington.com
                                                        acomas@coffeyburlington.com
    William Burck (pro hac vice)                        lmaltz@coffeyburlington.com
    JP Kernisan (pro hac vice)                          service@coffeyburlington.com
    1300 Eye Street, N.W., Suite 900
    Washington, D.C. 20005                              Counsel for Defendants Kyle Robertson,
    Telephone: (202) 538-8000                           Zealthy, Inc., Gronk, Inc., and Bruno Health,
    Facsimile: (202) 538-8100                           P.A.
    williamburck@quinnemanuel.com
    jpkernisan@quinnemanuel.com

    Daniel Koffmann (pro hac vice)
    Robert Longtin (pro hac vice)
    51 Madison Avenue, 22nd Floor
    New York, NY 10010
    Telephone: (212) 849-7000
    Facsimile: (212) 849-7100
    danielkoffmann@quinnemanuel.com
    robertlongtin@quinnemanuel.com

    Counsel for Defendant Kyle Robertson




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   GELBER SCHACHTER &                            TACHE, BRONIS, CHRISTIANSON AND
   GREENBERG, P.A.                               DESCALZO, P.A.

   By: /s/ Gerald Greenberg                      By: /s/ Marissel Descalzo

   Gerald Greenberg (FBN: 440094)                Marissel Descalzo (FBN: 669318)
   Chris Sundby (FBN: 1026060)                   150 S.E. Second Ave., Suite 600
   One Southeast Third Avenue, Suite 2600        Miami, FL 33131
   Miami, FL 33131-1715                          Telephone: (305) 537-9565
   Telephone: (305) 728-0950                     Facsimile: (305) 537-9567
   ggreenberg@gsgpa.com                          mdescalzo@tachebronis.com
   csundby@gsgpa.com
                                                 BOURELLY, GEORGE + BRODEY PLLC
   LONDON & STOUT P.C.
                                                 Andrew George (pro hac vice)
   Ellen London (pro hac vice)                   1050 30th Street, N.W.
   Rachel Naor (pro hac vice)                    Washington, DC 20007
   1999 Harrison Street , Suite 2010             Telephone: (202) 341-8805
   Oakland, CA 94612                             andrew.george@bgblawyers.com
   Telephone: (415) 862-8485
   elondon@londonstoutlaw.com                    Counsel for Defendant German Echeverry, M.D.
   rnaor@londonstoutlaw.com

   Counsel for Defendant Alex Martelli




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 6th day of August, 2024, I electronically filed the foregoing

   with the Court via its CM/ECF electronic filing system, which generates notices of electronic filing

   on all counsel of record.



                                                     By: /s/ Shane Anthony Grannum
                                                         Shane Anthony Grannum
                                                         Fla. Bar No. 1055050




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